Case 1:20-cv-00484-RDA-TCB Document 183 Filed 10/09/20 Page 1 of 3 PageID# 6350




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION


 AMAZON.COM, INC., and AMAZON DATA
 SERVICES, INC.,

    Plaintiffs,

                        v.                              Case No. 1:20 Civ. 484

 WDC HOLDINGS LLC dba NORTHSTAR
 COMMERCIAL PARTNERS; BRIAN
 WATSON; STERLING NCP FF, LLC;
 MANASSAS NCP FF, LLC; NSIPI
 ADMINISTRATIVE MANAGER; NOVA WPC
 LLC; WHITE PEAKS CAPITAL LLC;
 VILLANOVA TRUST; CARLETON NELSON;
 CASEY KIRSCHNER; ALLCORE
 DEVELOPMENT LLC; FINBRIT HOLDINGS
 LLC; CHESHIRE VENTURES LLC; JOHN
 DOES 1-20,

    Defendants.



                        NOTICE OF FILING OF MOTION TO SEAL

        Pursuant to Local Civil Rule 5, Defendants Carleton Nelson and Cheshire Ventures LLC

 hereby respectfully submit this Notice of Filing of Motion To Seal. Parties and non-parties may

 submit memoranda in support or in opposition to Defendant Carleton Nelson’s Motion for Leave

 To File Documents Under Seal, filed concurrently herewith, within seven (7) days, and may

 designate all or part of such memoranda as confidential. If no objection is filed within seven (7)

 days, the Court may treat the motion as uncontested.

        Moreover, because the material sought to be sealed has been designated as confidential

 and/or attorneys’ eyes only by Plaintiffs Amazon.com, Inc., and Amazon Data Services, Inc.

 (collectively, “Amazon”), Amazon is hereby notified of its obligation to file a response to this
Case 1:20-cv-00484-RDA-TCB Document 183 Filed 10/09/20 Page 2 of 3 PageID# 6351




 motion complying with Local Civil Rule 5(C)(2), (3), and (4), along with a proposed order,

 pursuant to Local Civil Rule 5(C).

 Dated: October 9, 2020                          Respectfully submitted,

                                                               /s/
                                                 Eric R. Nitz (Va. Bar No. 82471)
                                                 MOLOLAMKEN LLP
                                                 The Watergate, Suite 500
                                                 600 New Hampshire Avenue, N.W.
                                                 Washington, D.C. 20037
                                                 (202) 556-2021 (telephone)
                                                 (202) 536-2021 (facsimile)
                                                 enitz@mololamken.com

                                                 Justin V. Shur (admitted pro hac vice)
                                                 Caleb Hayes-Deats (admitted pro hac vice)
                                                 MOLOLAMKEN LLP
                                                 The Watergate, Suite 500
                                                 600 New Hampshire Avenue, N.W.
                                                 Washington, D.C. 20037
                                                 (202) 556-2000 (telephone)
                                                 (202) 556-2001 (facsimile)
                                                 jshur@mololamken.com
                                                 chayes-deats@mololamken.com

                                                 Jennifer E. Fischell (admitted pro hac vice)
                                                 MOLOLAMKEN LLP
                                                 430 Park Avenue
                                                 New York, New York 10022
                                                 (212) 607-8174 (telephone)
                                                 (212) 607-8161 (fax)
                                                 jfischell@mololamken.com

                                                 Counsel for Defendants Carleton Nelson
                                                 and Cheshire Ventures LLC




                                             2
Case 1:20-cv-00484-RDA-TCB Document 183 Filed 10/09/20 Page 3 of 3 PageID# 6352




                                 CERTIFICATE OF SERVICE

        I hereby certify that on October 9, 2020, I electronically filed the foregoing with the

 Clerk of Court using the CM/ECF system. On October 9, 2020, I will further send the document

 and a notification of such filing (NEF) to the following parties by e-mail:

 Travis Stuart Andrews (Va. Bar No. 90520)            Jeffrey R. Hamlin (Va. Bar No. 46932)
 Luke Michael Sullivan (Va. Bar No. 92553)            George R. Calhoun
 Elizabeth P. Papez                                   James Trusty
 Patrick F. Stokes                                    IFRAH PLLC
 Claudia M. Barrett                                   jhamlin@ifrahlaw.com
 GIBSON DUNN & CRUTCHER LLP                           george@ifrahlaw.com
 tandrews@gibsondunn.com                              jtrusty@ifrahlaw.com
 lsullivan@gibsondunn.com
 epapez@gibsondunn.com                                Counsel for Defendants Brian Watson and
 pstokes@gibsondunn.com                               WDC Holdings LLC
 cbarrett@gibsondunn.com
                                                      Scott Jeffrey Pivnick (Va. Bar No. 48022)
 Counsel for Plaintiffs                               Edward T. Kang
                                                      Kelley C. Barnaby
                                                      ALSTON & BIRD LLP
                                                      scott.pivnick@alston.com
                                                      edward.kang@alston.com
                                                      kelley.barnaby@alston.com

                                                      Counsel for Defendant Casey Kirschner


 Dated: October 9, 2020                                             /s/
                                                      Eric R. Nitz (Va. Bar No. 82471)
                                                      MOLOLAMKEN LLP
                                                      The Watergate, Suite 500
                                                      600 New Hampshire Avenue, N.W.
                                                      Washington, D.C. 20037
                                                      (202) 556-2021 (telephone)
                                                      (202) 536-2021 (facsimile)
                                                      enitz@mololamken.com

                                                      Counsel for Defendants Carleton Nelson
                                                      and Cheshire Ventures LLC
